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Cullen and Dykman LLP

333 Earle Ovington Boulevard
Cullen an rior aleAREaD
T: 516.357.3700
F: 516.357.3792
Thomas S. Baylis
Partner and General Counsel
Direct Dial: (516) 357-3748
Email: tbaylis@cullenllp.com
October 26, 2023
VIA ECF
Magistrate Judge James M. Wicks
United States District Court
Eastern District of New York
100 Federal Plaza, Courtroom 1020

Central Islip, New York 11722

Re: Superb Motors Inc. et al. v. Deo et al., Case No. 23-cv-6188

Dear Judge Wicks:

We represent defendant Flushing Bank (“Flushing Bank” or the “Bank’) in the referenced
action. We submit this letter pursuant Rule 3(D) of Your Honor’s Individual Practice Rules to
respectfully request a pre-motion conference with regard to a contemplated motion to dismiss the
Amended Complaint pursuant to Rule 12(b)(1) and (6) of the Federal Rules of Civil Procedure.

Plaintiffs’ Amended Complaint contains 52 causes of action, eight of which are alleged
against Flushing Bank. Of those eight, two provide the alleged basis for this Court’s jurisdiction
over Plaintiffs’ claims against Flushing Bank: the First (Violation of RICO, 18 U.S.C. §1962) and
the Second (Conspiracy Under 18 U.S.C. §1962(d)). The remaining six are state law claims
brought pursuant to this Court’s supplemental jurisdiction authority found in 28 U.S.C. §1367.
Plaintiffs’ Amended Complaint, however, fails to state a claim against Flushing Bank under either
the First or Second Causes of Action. As such, there is no basis for federal jurisdiction over
Flushing Bank and the Amended Complaint should be dismissed as against Flushing Bank with
prejudice.

In the “Facts” section of their Amended Complaint, running from § 48 through § 280,
Flushing Bank is only mentioned three times: in J] 209 and 210 in which Plaintiffs allege that
Anthony Deo misrepresented to Flushing Bank that he was the sole owner of Superb, and in J] 214
in which Plaintiffs allege that Deo deposited misappropriated customer payments into an account
at the Bank and then transferred the funds to his own account. The Bank is mentioned in one
paragraph in the First Cause of Action when, in § 315, Plaintiffs make the conclusory assertion
that unnamed Flushing Bank employees and agents permitted Deo to open an account for Superb
when they knew that Deo had no authority to do so. The Bank is not mentioned at all in the Second
Cause of Action.

A. Plaintiffs’ RICO Claims Fail to State a Claim for Relief
Against Flushing Bank Thus Denying this Court
Jurisdiction Over Flushing Bank in This Action.

Plaintiffs allege that this Court has jurisdiction over Flushing Bank pursuant to 28 U.S.C.
§1331 based upon their claims based upon violations of RICO (18 U.S.C. §1962) and Conspiracy
under 18 U.S.C. §1962(d). Plaintiffs have alleged a RICO claim and a claim for conspiracy against
the Bank. Because Plaintiffs fail to state a claim under either federal statute, the action should be
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dismissed as against Flushing Bank with prejudice. To establish a civil RICO claim, “a plaintiff
must allege ‘(1) conduct, (2) of an enterprise, (3) through a pattern (4) of racketeering activity,’ as
well as ‘injury to business or property as a result of the RICO violation.’” Lundy v. Catholic Health
Sys. of Long Island Inc., 711 F.3d 106, 119 (2d Cir. 2013) (quoting Anatian v. Coutts Bank Ltd.,
193 F.3d 85, 88 (2d Cir. 1999)). “The pattern of racketeering activity must consist of two or more
predicate acts of racketeering.” /d. (citing 18 U.S.C. § 1961(5)). Racketeering activity is detined
as “any act which is indictable” under specified provisions of Title 18, including mail fraud, wire
fraud, extortion, and bank fraud. 18 U.S.C. § 1961(1)(B)” Sky Med. Supply Inc. v. SCS Support
Claims Servs., Inc., 17 F.Supp.3d 207, 222 (E.D.N.Y. 2014). To establish the existence of a RICO
conspiracy, a plaintiff must prove "the existence of an agreement to violate RICO's substantive
provisions." Cofacredit, S.A. v. Windsor Plumbing Supply Co., Inc., 187 F.3d 229, 244 (2d Cir.
1999).

Plaintiffs fail to allege any facts that support either the First or Second Cause of Action
against Flushing Bank. Generously read, Plaintiffs’ Amended Complaint alleges that the Bank
failed to prevent the Deo Defendants from taking their allegedly wrongful actions. That, however,
cannot be the basis of RICO liability against the Bank because Plaintiffs have failed to allege any
facts that Flushing Bank directed or operated the scheme. See In re Agape Litig., 681 F.Supp.2d
352 (E.D.N.Y. 2010) (court dismissed RICO claims against Bank of America finding plaintiff's
allegations that the bank had actual knowledge of a scheme to defraud plaintiff and that bank’s
actions (or inaction) insufficient as a matter of law to support a RICO claim in the absence of
allegations that BOA directed or operated the scheme or conspired to do so.)

Plaintiffs’ lack of specificity as to any wrongdoing by Flushing Bank provides independent
grounds for dismissing the Amended Complaint. As the court held in Brookhaven Town
Conservative Comm. v. Walsh, 258 F. Supp. 3d 277, 285-86 (E.D.N.Y. 2017): “When alleging
fraudulent activities as predicate acts for a RICO claim, a plaintiff must satisfy the particularity
requirements of Federal Rule of Civil Procedure 9(b).” Moore v. PaineWebber, Inc., 189 F.3d 165,
172-73 (2d Cir. 1999).

B. The Court Should Dismiss the State and
Common Law Claims Alleged Against Flushing Bank.

In their 14%, 15", 46%, 47, 48" and 49" Causes of Action, Plaintiffs allege state law claims
against the Bank for alleged including violations of the New York U.C.C., conversion and
negligence. Plaintiffs acknowledge that those claims are before this Court solely under the doctrine
of supplemental jurisdiction. But since the RICO claims against Flushing Bank should be
dismissed, the Court should also dismiss the supplemental claims alleged against the Bank. As
held by this court in Eaves v. Levitt-Fuirst Assocs., Ltd., No. 22CV5525-JMA-SIL, 2023 WL
3434987, at *4 (E.D.N.Y. May 12, 2023): “[iJn the interest of comity, the Second Circuit instructs
that ‘absent exceptional circumstances,’ where federal claims can be disposed of pursuant to Rule
12(b)(6) or summary judgment grounds, courts should ‘abstain from exercising pendent
jurisdiction.’” (citations omitted)

For the reasons set forth above, we respectfully submit that the Amended Complaint filed
in this action should be dismissed as against Flushing Bank with prejudice.

Respectfully submitted, _
THe S. iii CE

All Counsel of Record (via ECF)
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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SUPERB MOTORS INC., TEAM AUTO SALES LLC,

ROBERT ANTHONY URRUTIA, 189 SUNRISE Case No.:

HWY AUTO LLC, NORTHSHORE MOTOR 2:23-cv-6188 (OEM) (ST)

LEASING, LLC, BRIAN CHABRIER, individually and

derivatively as a member of NORTHSHORE MOTOR

LEASING, LLC, JOSHUA AARONSON, individually PROPOSED
and derivatively as a member of 189 SUNRISE HWY SCHEDULING ORDER
AUTO, LLC, JORY BARON, 1581 HYLAN BLVD

AUTO LLC, 1580 HYLAN BLVD AUTO LLC, 1591

HYLAN BLVD AUTO LLC, 1632 HYLAN BLVD

AUTO LLC, 1239 HYLAN BLVD AUTO LLC, 2519

HYLAN BLVD AUTO LLC, 76 FISK STREET

REALTY LLC, 446 ROUTE 23 AUTO LLC and

ISLAND AUTO MANAGEMENT, LLC,

Plaintiffs,
-against-

ANTHONY DEO, SARAH DEO, HARRY
THOMASSON, DWIGHT BLANKENSHIP, MARC
MERCKLING, MICHAEL LAURIE, THOMAS
JONES, CPA, CAR BUYERS NYC INC., GOLD
COAST CARS OF SYOSSET LLC, GOLD COAST
CARS OF SUNRISE LLC, GOLD COAST MOTORS
AUTOMOTIVE GROUP LLC, GOLD COAST
MOTORS OF LIC LLC, GOLD COAST MOTORS OF
ROSLYN LLC, GOLD COAST MOTORS OF
SMITHTOWN LLC, UEA PREMIER MOTORS
CORP., DLA CAPITAL PARTNERS INC., JONES,
LITTLE & CO., CPA'S LLP, FLUSHING BANK, and
LIBERTAS FUNDING LLC,

Defendants.
x

Upon consent of the parties, it is hereby ORDERED as follows:
1, Flushing Bank shall serve its papers in support of its motion to dismiss the

Amended Complaint as against Flushing Bank on or before November 13, 2023;
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2. Opposition to Flushing Bank’s motion to dismiss the Amended Complaint shall
be served on or before December 11, 2023; and

3. Flushing Bank’s reply papers, if any, in further support of its motion to dismiss
the Amended Complaint shall be served on or before January 5, 2024.

This Scheduling Order may be altered or amended upon a showing of good cause not

foreseeable at the date hereof.

CONSENTED TO BY:

MILMAN LABUDA LAW GROUP PLLC

By:
Jamie Scott Felsen, Esq.
Emanuel Kataev, Esq.
3000 Marcus Avenue
Suite 3W8
Lake Success, NY 11042
516-328-8899
516-328-0082
jamiefelsen@mmmlaborlaw.com
emanuel@mllaborlaw.com
Attorneys for Plaintiffs

Superb Motors Inc.,

Team Auto Sales LLC,
Robert Anthony Urrutia
1239 Hylan Blvd Auto LLC,
1580 Hylan Blvd Auto LLC,
1581 Hylan Blvd Auto LLC,
1591 Hylan Blvd Auto LLC,
1632 Hylan Blvd Auto LLC,
189 Sunrise Hwy Auto LLC,
2519 Hylan Blvd Auto LLC,
446 Route 23 Auto LLC,
76 Fisk Street Realty LLC,
Island Auto Management, LLC,
Northshore Motor Leasing, LLC,

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Brian Chabrier,
Jory Baron,
Joshua Aaronson

CYRULI SHANKS & ZIZMOR LLP

By:
Jeffrey Ruderman, Esq.

420 Lexington Avenue, Suite 2320
New York, NY 10170-0002
(212) 661-6800 (office)

(347) 379-4622 (direct dial)
(212) 661-5350 (facsimile)
jruderman@cszlaw.com
Attorneys for Plaintiffs

1239 Hylan Blvd Auto LLC,
1580 Hylan Blvd Auto LLC,
1581 Hylan Blvd Auto LLC,
1591 Hylan Blvd Auto LLC,
1632 Hylan Blvd Auto LLC,

189 Sunrise Hwy Auto LLC,
2519 Hylan Blvd Auto LLC,

446 Route 23 Auto LLC,

76 Fisk Street Realty LLC,
Island Auto Management, LLC,
Northshore Motor Leasing, LLC,
Brian Chabrier,

Jory Baron,

Joshua Aaronson

Harry R. Thomasson , Jr.
3280 Sunrise Highway
Ste Box 112

Wantagh, NY 11793
516-557-5459
hrtatty@verizon.net
Attorney for Defendants
Anthony Deo

Sarah Deo

Harry Thomasson
Dwight Blankenship
Marc Merckling
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Michael Laurie

Car Buyers NYC Inc.

Gold Coast Cars of Syosset LLC

Gold Coast Cars of Sunrise LLC

Gold Coast Motors Automotive Group LLC
Gold Coast Motors of LIC LLC

Gold Coast Motors of Roslyn LLC

Gold Coast Motors of Smithtown LLC

UEA Premier Motors Corp.

MILBER MAKRIS PLOUSADIS & SEIDEN, LLP

By:
John Anthony Lentinello, Esq.
Peter Seiden, Esq.

1000 Woodbury Road, Ste. 402
Woodbury, NY 11797
516-712-4000

516-712-4013
jlentinello@milbermakris.com
pseiden@milbermakris.com
Attorneys for Defendant

Jones, Little & Co., CPA's LLP

CULLEN AND DYKMAN LLP

By:
Thomas S. Baylis, Esq.

Ariel Ronneburger, Esq.

333 Earle Ovington Boulevard
2° Floor

Uniondale, New York 11553
516-357-3700

516-357-3792
tbaylis@cullenllp.com
Attorneys for Defendant
Flushing Bank

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SO ORDERED:

Date
United States Magistrate Judge
